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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
         vs.                                        )                    Cr. No. 17-2558 MV
                                                    )
 ARTHUR PERRAULT,                                   )
                                                    )
                Defendant.                          )
                                                    )

                      UNITED STATES’ PROPOSED WITNESS LIST

        The United States respectfully submits this Proposed Witness List. The United States

reserves the right to call additional custodians of records as necessary, to call any witness named

by the defense, and to amend its witness list as necessary before and during trial. Witnesses who

may testify during the United States’ case-in-chief include:

 Name                        Title                      Relevance to Case       Estimated time of
                                                                                Testimony
 Edward Blea                 Former Deacon,             Evidence of             30 minutes
                             St. Bernadette’s           interaction with
                             Parish                     Defendant at time of
                                                        charged offenses
 Benedict Bourgeois          Special Agent,             Seizure of evidence     1 hour
                             Federal Bureau of          from Defendant and
                             Investigation              post-arrest interview
 Victoria Bratton            Former Air National        Knew Defendant          30 minutes
                             Guard member,              when he was chaplain
                             Kirtland Air Force         at Kirtland Air Force
                             Base                       Base, the location of
                                                        several charged
                                                        offenses
 TBA                         Custodian of Records       Authentication of       15 minutes
                             – Archdiocese of           Church records
                             Santa Fe                   pertaining to
                                                        Defendant
 TBA                         Custodian of Records       Authentication of       15 minutes
                             – Second Judicial          Court records
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                          District Court of New pertaining to
                          Mexico                Defendant

    John Doe 1            Victim               Sexually abused by          8 hours
                                               Defendant 1
    John Doe 2           Victim                Sexually abused by          2 hours
                                               Defendant
    John Doe 3           Victim                Sexually abused by          2 hours
                                               Defendant
    John Doe 4           Victim                Sexually abused by          2 hours
                                               Defendant
    John Doe 5           Victim                Sexually abused by          2 hours
                                               Defendant
    John Doe 6           Victim                Sexually abused by          2 hours
                                               Defendant
    John Doe 7           Victim                Sexually abused by          2 hours
                                               Defendant
    John Doe 8           Victim                Sexually abused by          2 hours
                                               Defendant
    John Doe 9           Victim                Sexually abused by          2 hours
                                               Defendant
    Gail Goodman         Forensic psychologist Testimony about             8 hours
                                               delayed disclosure by
                                               child sexual abuse
                                               victims and other
                                               relevant matters
    Merrica Heaton       United States         Testimony about             30 minutes
                         Department of State   incriminating
                                               statements by
                                               Defendant
    Mother of John Doe 3 Victim’s mother       Testimony about             1 hour
                                               incriminating
                                               statements by
                                               Defendant
    Mother of John Doe 5 Victim’s mother       Testimony about             1 hour
    and 6                                      incriminating
                                               statements by
                                               Defendant
    Cristina Sandoval    Special Agent,        Seizure of evidence         30 minutes
                         Federal Bureau of     from Defendant
                         Investigation


1
 Further details of the anticipated testimony from John Doe 1-9 are set forth in Doc. 43, the
United States’ amended notice of offer evidence pursuant to Fed. R. Crim. P. 413, 414, and
404(b).
                                                2
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    Cheryl Tuttle         Former Air National        Knew Defendant           30 minutes
                          Guard member,              when he was chaplain
                          Kirtland Air Force         at Kirtland Air Force
                          Base                       Base, the location of
                                                     several charged
                                                     offenses
    TBA                   Kirtland Air Force         Testimony of land        30 minutes
                          Base                       status within special
                                                     maritime and
                                                     territorial jurisdiction
                                                     of the United States 2
    TBA                   Santa Fe National          Testimony of land        30 minutes
                          Cemetery                   status within special
                                                     maritime and
                                                     territorial jurisdiction
                                                     of the United States




                                                       Respectfully submitted,


                                                       JOHN C. ANDERSON
                                                       Acting United States Attorney


                                                       /s
                                                       SEAN J. SULLIVAN
                                                       HOLLAND S. KASTRIN
                                                       Assistant U.S. Attorneys
                                                       201 Third St. NW, Suite 900
                                                       Albuquerque, NM 87102

I hereby certify that a copy of this
motion was delivered via CM/ECF
to counsel for defendants.
 filed electronically
Sean J. Sullivan



2
  As stated in the United States’ motion for a pretrial ruling on special maritime and territorial
jurisdiction, Doc. 76-1, the prosecution does not believe witnesses to the land status of Kirtland
Air Force Base and Santa Fe National Cemetery are necessary under the law. However, the
United States is prepared to call such witnesses if the Court requires their testimony to prove the
offenses occurred with the special maritime and territorial jurisdiction of the United States.
                                                 3
